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                                            RECORD NO. 21-2030

                                                       In The
              United States Court of Appeals
                                          For The Fourth Circuit



                                     KESHA T. WILLIAMS,
                                                                                     Plaintiff – Appellant,

                                                            v.



            STACEY A. KINCAID, in her official capacity;
        XIN WANG, NP, in her individual and official capacities;
       DEPUTY GARCIA, in his individual and official capacities,
                                                                                     Defendants – Appellees.



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            AT ALEXANDRIA

                APPELLEES’ PETITION FOR REHEARING EN BANC



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        I.    Statement of Purpose

              The Panel decision that the Americans with Disability Act exclusion, 42

        U.S.C. § 12211(b), does not include the diagnosis of gender dysphoria conflicts with

        U.S. Supreme Court decisions involving statutory construction and constitutional

        avoidance. The dissenting opinion by Judge Quattlebaum sets forth the proper

        analysis and holding as to whether gender dysphoria is excluded under § 12211(b).

        The Panel decision also involves a question of exceptional importance as it is the

        first federal appellate court decision to interpret the Americans with Disability Act

        exclusion, 42 U.S.C. § 12211(b), to not include the diagnosis of gender dysphoria.

        In addition, the Panel decision is of exceptional importance as it renders a medical

        determination without the benefit of medical experts.

        II.   Background

              This case involves Kesha Williams suffers from gender dysphoria. She is a

        transgender woman whose gender identity (female) is different from the gender

        assigned to her at birth (male). Ms. Williams’ allegations stem from her six-month

        incarceration at the Fairfax County Adult Detention Center. The claims that are of

        particular importance as it relates to this petition are Ms. Williams’ claims against

        Appellee, Stacey A. Kincaid, Sheriff for Fairfax County, for a failure to

        accommodate in violation the Americans with Disabilities Act, 42 U.S.C. § 12101

        et seq (the “ADA”) and the Rehabilitation Act, 29 U.S.C. §§ 701 et seq.


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        III.   Argument

               The Panel decision declaring that gender dysphoria falls outside of the ADA’s

        exclusions, § 12211(b)(1), is the first federal appellate court decision on this issue.

        The decision, however, does not comport with the rules of statutory construction.

        Consequently, the decision is of exceptional importance as it re-writes federal law

        and sets forth a sweeping medical determination, as a matter of law, that individuals

        suffer from gender dysphoria because of a physical impairment, without the benefit

        of medical experts.

               A.    The Panel decision that gender dysphoria does not fall within the
                     ADA’s exclusion provision conflicts with U.S. Supreme Court and
                     Fourth Circuit precedent for statutory construction.

               The ADA excludes from its definition of “disability” “transvestism,

        transsexualism, pedophilia, exhibitionism, voyeurism, gender identity disorders not

        resulting from physical impairments, [and] other sexual behavior disorders,” as well

        as “compulsive gambling, kleptomania, . . . pyromania; or . . . psychoactive

        substance use disorders resulting from current illegal use of drugs.” 42 U.S.C.

        § 12211(b) (emphasis added). The ADA does not define “gender identity disorders

        not resulting from a physical impairment.” “When a word is not defined by statute,

        we normally construe it in accord with its ordinary or natural meaning.” Smith v.

        United States, 508 U.S. 223, 228 (1993) (citing Perrin v. United States, 444 U.S. 37,

        42 (1979) (words not defined in statute should be given ordinary or common


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        meaning)). “Statutory construction must begin with the language employed by

        Congress and the assumption that the ordinary meaning of that language accurately

        expresses the legislative purpose.” Engine Mfrs. Ass’n v. S. Coast Air Quality Mgmt.

        Dist., 541 U.S. 246, 252 (2004) (quoting Park ‘N Fly, Inc. v. Dollar Park & Fly,

        Inc., 469 U.S. 189, 194 (1985)).

              “Because the law’s ordinary meaning at the time of enactment usually

        governs, we must be sensitive to the possibility a statutory term that means one thing

        today or in one context might have meant something else at the time of its adoption

        or might mean something different in another context. And we must be attuned to

        the possibility that a statutory phrase ordinarily bears a different meaning than the

        terms do when viewed individually or literally.” Bostock v. Clayton Cnty., Georgia,

        140 S. Ct. 1731, 1750 (2020). In Bostock, the Supreme Court stated that courts

              interpret[] a statute in accord with the ordinary public meaning of its
              terms at the time of its enactment. After all, only the words on the page
              constitute the law adopted by Congress and approved by the President.
              If judges could add to, remodel, update, or detract from old statutory
              terms inspired only by extratextual sources and our own imaginations,
              we would risk amending statutes outside the legislative process
              reserved for the people’s representatives.

        Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1738 (2020) (emphasis added).

        With this in mind, the Panel’s reliance on comparing the diagnoses of gender

        dysphoria and gender identity disorders in third and fifth editions of the Diagnostic




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        and Statistical Manual of Mental Disorders (the “DSM”) is flawed and improperly

        updates the exclusion provision of the ADA.

              As none of the exclusion’s terms are defined, the Panel decision looked to the

        DSM-III-R, the DSM edition that existed at the time the ADA was enacted, to define

        “gender identity disorders.” In turn, the Panel decision applies the DSM-III-R’s

        diagnosis as the definition of “gender identity disorder.”

              The DSM-III-R provided that “[t]he essential feature of [gender identity]

        disorders . . . is an incongruence between assigned sex (i.e., the sex that is recorded

        on the birth certificate) and gender identity.” Am. Psych. Ass’n, Diagnostic and

        Statistical Manual 71 (3d ed., rev. 1987) (DSM-III-R). The diagnostic criteria for

        gender identity disorder included “persistent or recurrent discomfort and a sense of

        inappropriateness about one’s assigned sex.” Id. at 77.

              In 2013, when the American Psychiatric Association (the “APA”) changed

        from gender identity disorder to gender dysphoria, it stated

              In the upcoming fifth edition of the Diagnostic and Statistical Manual
              of Mental Disorders (DSM-5), people whose gender at birth is contrary
              to the one they identify with will be diagnosed with gender dysphoria.
              This diagnosis is a revision of DSM-IV’s criteria for gender identity
              disorder and is intended to better characterize the experiences of
              affected children, adolescents, and adults.

              Gender        Dysphoria,        Am.        Psychiatric        Ass’n      (2013),

        https://www.psychiatry.org/File%20Library/Psychiatrists/Practice/DSM/APA_DS

        M-5-Gender-Dysphoria.pdf.       (emphasis added).     “The DSM-5 defines ‘gender

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        dysphoria’ as the ‘clinically significant distress’ felt by some of those who

        experience “an incongruence between their gender identity and their assigned sex.”

        (Dkt. No. 68, p. 11) (emphasis original) (quoting DSM-V at 451–53). Gender

        dysphoria “focuses on dysphoria as the clinical problem, not identity per se” DSM-

        5 at 451.

              Gender identity cannot be removed from gender dysphoria. While the

        diagnosis and treatment has evolved to focus on the clinical problem, that problem

        still involves, at its base, an incongruence with gender identity. As a result, gender

        dysphoria falls within the gender identity disorders as that phrase was understood

        when the ADA was enacted. The Panel decision allows the APA to re-write the

        ADA and, thereby, improperly updates the exclusion provision under § 12211(b). 1

              The flaw in the Panel’s statutory construction is further illustrated by the fact

        that not all the terms in § 12211 are in the DSM-III-R diagnoses. Specifically, the

        DSM-III-R does not have a diagnosis for “transvestism,” “sexual behavior


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          Additionally, the Panel decision reasons that “[b]ecause ‘a construction of the
        statute . . . by which [this constitutional] question may be avoided’ is readily
        available . . . we reject a reading of § 12211(b) that would exclude gender dysphoria
        from the ADA’s protections. (Dkt. No. 68, p. 23). “The canon of constitutional
        avoidance ‘comes into play only when, after the application of ordinary textual
        analysis, the statute is found susceptible of more than one construction. In the
        absence of more than one plausible construction, the canon simply has no
        application.’” Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (quoting Clark v.
        Martinez, 543 U.S. 371, 385 (2005))). The Panel does not suggest that the exclusion
        provision as a whole is ambiguous or that the “gender identity disorders” is
        ambiguous.

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        disorders,” “compulsive gambling,” or “psychoactive substance use disorders.”

        Under this reasoning, at the time the ADA was enacted, the exclusion included four

        meaningless terms, violating the “duty to give effect, if possible, to every clause and

        word of a statute.” Duncan v. Walker, 533 U.S. 167, 174 (2001) (internal punctuation

        omitted); see also United States v. Simms, 914 F.3d 229, 241 (4th Cir. 2019)

        (concluding the court should not adopt a reading of a statute “that renders part of the

        statute superfluous over one that gives effect to its ‘every clause and word’” (quoting

        United States v. Menasche, 348 U.S. 528, 538–39 (1955))).

              Again, if the DSM is used as the dictionary to define these terms, the DSM-

        V, does not contain diagnoses for “transvestism,” “transsexualism,” “pedophilia,”

        “exhibitionism,”    “voyeurism.”    “sexual    behavior    disorders,”   “compulsive

        gambling,” “psychoactive substance use disorders,” or “gender identity disorders.”

        Thus, under the Panel decision, currently nine out of the eleven terms that were

        excluded have been written out of the ADA, not by Congress, but by the APA. See

        United States v. Locke, 471 U.S. 84, 96 (1985) (the Supreme Court has cautioned

        that it “cannot press statutory construction ‘to the point of disingenuous evasion’

        even to avoid a constitutional question”) (quoting Moore Ice Cream Co. v. Rose, 289

        U.S. 373, 379 (1933) (Cardozo, J.)).

              Under the presumption that Congress intended those terms to have meaning,

        the more appropriate reading would be a physical or mental impairment that


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        substantially limits one or more major life activities of an individual that is

        connected to “transvestism, transsexualism, pedophilia, exhibitionism, voyeurism,

        gender identity disorders not resulting from physical impairments, [and] other

        sexual behavior disorders, . . . compulsive gambling, kleptomania, . . . pyromania;

        or . . . psychoactive substance use disorders resulting from current illegal use of

        drugs” is excluded from the ADA’s definition of disability. Under such a reading,

        whatever the medical condition associated with these terms would be excluded.

              Consequently, gender dysphoria falls under the gender identity disorder

        umbrella. First, while the term disorder carries a stigma and changing terminology

        is important for eliminating stigmas, promoting acceptance, and promoting

        treatment, gender dysphoria is, nonetheless, still a diagnosis contained in the DSM,

        which is a manual for mental disorders. Second, the gender dysphoria chapter

        indicates “that current term[, gender dysphoria,] is more descriptive than the

        previous DSM-IV term gender identity disorder.” Id. “More descriptive” does not

        equate to entirely separate unrelated condition. The evolution of the condition does

        not amend the language of the statute and supplant Congress’ authority.

              Finally, “gender dysphoria refers to the distress that may accompany the

        incongruence between one’s experienced or expressed gender and one’s assigned

        gender.” DSM-5 at 451. Thus, gender dysphoria involves one’s experienced or

        expressed gender, or in other words it involves gender identity. See id. (“[g]ender


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        identity is a category of social identity and refers to an individual’s identification as

        male, female, or, occasionally, some category other than male or female”).

              The Panel’s decision (1) is of exceptional importance because it is the first

        appellate court to address this issue and (2) is in direct opposition with Supreme

        Court and other Fourth Circuit caselaw on statutory construction. Therefore, the

        Petition for Rehearing En Banc must be granted.

              B.     The Panel decision that gender dysphoria results from a physical
                     impairment conflicts with U.S. Supreme Court and Fourth Circuit
                     precedent for statutory construction.

              While the ADA does not indicate whether the phrase “gender identity

        disorders resulting from a physical impairment” is one distinct term, or a distinct

        term (“gender identity disorders”) with a qualification (“resulting from a physical

        impairment”), neither the parties nor the Panel naturally read “gender identity

        disorders not resulting from a physical impairment” as one distinct term. Instead,

        the phrase was naturally read as a distinct term (“gender identity disorders”) with a

        qualification (“resulting from a physical impairment”). The Panel decision applied

        the Equal Employment Opportunity Commission’s definition for physical

        impairment means “[a]ny physiological disorder or condition . . . affecting one or




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        more body systems, such as neurological . . . and endocrine.” 28 C.F.R.

        § 35.108(b)(1)(i).2

              The Panel decision applied to this definition, noting that

              Williams alleges that the medical treatment for her gender dysphoria
              consisted primarily of a hormone therapy, which she used to effectively
              manage and alleviate the gender dysphoria she experienced,” and that
              she had received this medical treatment for fifteen years. Am. Compl.
              ¶ 14. Thus, contrary to the dissent’s assertion, Williams does not merely
              allege that gender dysphoria may require physical treatment such as
              hormone therapy; she maintains that her gender dysphoria requires it.

        (Dkt. No. 68, p. 17). Upon these allegations, without a developed record, the Panel

        decision determined that gender dysphoria is a “gender identity disorder resulting

        from a physical impairment.” The problem, however, is the allegations describe the

        symptoms or manifestations of gender dysphoria. In other words, the Panel is saying

        gender dysphoria results from the symptoms of gender dysphoria. This backward

        construction makes “resulting from a physical impairment” meaningless.

               In order to give effect to the statutory language “resulting from a physical

        impairment,” there would need to be separate physical impairment causing the

        gender dysphoria. See Duncan, 533 U.S. at 174; Simms, 914 F.3d at 241 (4th Cir.

        2019). There was none pled in this case. Not only is the reasoning flawed, but it is


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          The Panel through its opinion substitutes the statutory language, “physical
        impairment,” with “physical basis.” Physical basis is not the same as physical
        impairment. “Basis” means “the underlying support or foundation for an idea,
        argument, or process.” Whereas to be impaired means to be “weakened or
        damaged.”

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        of exceptional importance because the determination strikes against the purpose

        (eliminating stigmas) of adding the revised diagnosis of gender dysphoria by

        ultimately, rendering gender dysphoria as a physical impairment.3

              The Panel’s decision (1) is of exceptional importance because it is the first

        appellate court to address this issue and sets forth a sweeping medical determination

        as a matter of law and (2) is in direct opposition with Supreme Court and other

        Fourth Circuit caselaw on statutory construction.       Therefore, the Petition for

        Rehearing En Banc must be granted.

        IV.   Conclusion

              Based on the foregoing, and the reasoning set forth in Judge Quattlebaum’s

        dissent, Appellee, Stacey A. Kincaid, urges this court to grant her Petition for

        Rehearing En Banc.

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          For example, before the Panel’s decision that renders a gender dysphoria a physical
        impairment, the National LGBTQ Task Force already expressed concern with the
        diagnosis and its desire for gender dysphoria to be removed from the DSM entirely.
        See (In)Validating Transgender Identities: Progress and Trouble in the DSM-5,
        LGBTQ Task Force, Kayley Whalen, https://www.thetaskforce.org/invalidating-
        transgender-identities-progress-and-trouble-in-the-dsm-5/, (last accessed Aug. 30,
        2022).

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                                    Certificate of Compliance

        1.    This petition complies with type-volume limits because, excluding the parts
              of the document exempted by Fed. R. App. P. 32(f) (cover page, disclosure
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        Dated: August 30, 2022                        /s/ Alexander Francuzenko
                                                      Counsel for Appellees
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                                Certificate of Filing and Service

              I hereby certify that on this 30th day of August, 2022, I caused this Petition

        for Rehearing En Banc to be filed electronically with the Clerk of the Court using

        the CM/ECF System, which will send notice of such filing to all registered

        CM/ECF users.


                                                     /s/ Alexander Francuzenko
                                                     Counsel for Appellees
